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                             Exhibit 3

                      Reply Brief in Support of
            Dr. Abdullah Bin Abdul Mohsen Al-Turki’s
           Motion to Dismiss the Third Amended Complaint

       03 MDL No. 1570 (RCC) / C.A. No. 03-CV-9849 (RCC)
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                                     FROM THE OFFICE OF PUBLIC AFFAIRS

                September 6, 2002
                PO-3397

                  Treasury Department Statement on the Designation of Wa’el Hamza Julidan

                Today the United States and Saudi Arabia jointly designated Wa’el Hamza
                Julaidan, an associate of Usama bin Laden and a supporter of al-Qa’ida terror. We
                are pleased to be taking our second joint action with the Kingdom of Saudi Arabia
                to publicly identify and freeze the assets of terrorists and their supporters. The
                Kingdom of Saudi Arabia has already forwarded his name to the United Nations
                Sanctions Committee established by UNSCR 1267. Today’s designation follows a
                series of joint actions with our allies in the war on terrorist financing, which to date
                has included actions with the EU, the G-7 countries, Italy, and now our second joint
                action with Saudi Arabia.

                Today’s action brings the total number of names to 236 under President Bush’s
                Executive Order aimed at freezing the assets of terrorists and their supporters –
                Executive Order 13224. Together with our allies we have blocked over $112 million
                in terrorist related assets around the world. "Today’s action is important in that it
                demonstrates the commitment of both the United States and Saudi Arabia to go
                after high impact targets in our war against terrorist financing," said Treasury Under
                Secretary for Enforcement Jimmy Gurulé. "We have received unprecedented
                cooperation from our friends abroad, and today’s action is indicative of that synergy
                and commitment to this issue."

                Usama bin Laden and a top al-Qa’ida lieutenant, Abu Zubaida, have acknowledged
                Wa’el Julaidan as a known associate of their operations. Julaidan has been the
                head of various non-governmental organizations providing financial and logistical
                support to the al-Qa’ida network.




                                              Statement of the Case for

                                              Wa'el Hamza JULAIDAN

                                                 Identifier Information

                Wa'el Hamza JULAIDAN a.k.a. Wa'il Hamza JULAIDAN a.k.a.

                Wa'el Hamza JULAYDAN a.k.a. Wa'il Hamza JULAYDAN a.k.a.

                Wa'el Hamza JALAIDAN a.k.a. Wa'il Hamza JALAIDAN a.k.a.

                Wa'el Hamza JALADIN a.k.a. Wa'il Hamza JALADIN a.k.a. Abu

                Al-Hasan al Madani

                DOB: January 22, 1958

                POB: Al-Madinah, Saudi Arabia




http://www.treas.gov/press/releases/po3397.htm                                                             7/13/2004
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                                              Background Information

                Wa’el Hamza Julaidan, a Saudi citizen, is an associate of Usama bin Ladin.
                Julaidan fought with bin Laden in Afghanistan in the 1980s. Julaidan is also
                associated with several individuals and entities linked to al-Qa’ida, including bin
                Ladin lieutenants, Ayman al-Zawahri, Abu Zubaida, and Mohammed Atef; and the
                organizations: Makhtab al Khedmat, the Rabita Trust, and al-Gam'a al-Islamiya.
                These individuals and entities have been previously designated under President
                Bush’s Executive Order and by the United Nations.

                Bin Laden himself acknowledged his close ties to Julaidan during a 1999 interview
                with al-Jazeera TV. When referring to the assassination of al-Qa’ida co-founder
                Abdullah Azzam, bin Ladin stated that "We were all in one boat, as is known to you,
                including our brother, Wa’el Julaidan." Julaidan has established contacts with
                several known Arab Islamic extremists, including bin Ladin’s principal lieutenant,
                Ayman al-Zawahri. Another bin Ladin lieutenant, Abu Zubaida, claimed that he
                accompanied Julaidan from Pakistan to Kandahar, Afghanistan during the summer
                of 2000. Zubaida said that Julaidan met with bin Ladin and senior bin Ladin
                lieutenant Mohammed Atef soon after arriving in Kandahar.

                In February 2000, Julaidan was appointed to the Board of Trustees of the Rabita
                Trust and served as its Director General. The Rabita Trust is an NGO designated
                under President Bush’s Executive Order as an organization that provided logistical
                and financial support to al-Qa’ida.

                                                Basis for Designation

                The United States has credible information that Wa’el Hamza Julaidan is an
                associate of Usama bin Laden and several of bin Laden’s top lieutenants. Julaidan
                has directed organizations that have provided financial and logistical support to al-
                Qa’ida. Accordingly, the United States is designating Julaidan under Executive
                Order 13224 as a person who supports terror.




http://www.treas.gov/press/releases/po3397.htm                                                          7/13/2004
